                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENSNYLVANIA


   RENEE ZINSKY,                                         Civil Action
             Plaintiff,                                  No. 2:22-cv-547

                   vs.

   MICHAEL RUSSIN, RUSSIN FINANCIAL,
   RUSSIN GROUP, SIMON ARIAS, III,
   ARIAS AGENCIES,
   S.A. ARIAS HOLDINGS, LLC,
   AMERICAN INCOME                                       ELECTRONICALLY FILED
   LIFE INSURANCE COMPANY,


                   Defendants.                           JURY TRIAL DEMANDED



                     PLAINTIFF’S CERTIFICATE OF CONFERRAL

Pursuant to this Honorable Court’s Order dated July 13, 2023, I hereby certify that the parties have

made a reasonable effort to resolve their dispute with regard to the issues raised in Plaintiff’s

Motion for Protective Order as filed on July 3, 2023.



                                              Respectfully submitted,




                                              ____/s/ Amy N. Williamson_____________
                                CERTIFICATE OF SERVICE


       I hereby certify on this 14th day of August, 2023, I served a copy of the foregoing

Certificate of Conferral via first class mail, postage prepaid and via email upon the following:

                                      Benjamin D. Webb
                                    Cozza Law Group PLLC
                                  400 Holiday Drive, Suite 210
                                     Pittsburgh, PA 15220




                                             __/s/ Amy Williamson_____________
